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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

OAKLEY, INC.,
                                                    Case No. 20-cv-03542
                        Plaintiff,
                                                    Judge Robert W. Gettleman
       v.
                                                     Magistrate Judge Young B. Kim
ALL-INBIKE, et al.,

                        Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Oakley, Inc.

(“Plaintiff”) hereby dismisses this action with prejudice against the following Defendant:

               Defendant Name                                          Line No.
             mingyuankejimaoyivip                                         28

Dated this 17th day of July 2020.            Respectfully submitted,

                                             /s/ Jake M. Christensen
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                                             Justin R. Gaudio
                                             Jake M. Christensen
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